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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF IDAHO
                   U.S. MAGISTRATE JUDGE MINUTE ENTRY
 (X) Initial Appearance
 (X) Arraignment
 (X) Govt.’s Motion for Detention: Continued.
 (X) Detention Hearing
 MAGISTRATE JUDGE: RONALD E. BUSH                       DATE: 8/23/2018
 DEPUTY CLERK/ESR: Lynette Case                         Tape started 12:20 pm(20 min)
 Boise, IDAHO

            UNITED STATES OF AMERICA vs. PAVEL BABICHENKO
                    CR. 18-258-S-EJL-1
                Counsel for: United States (AUSA): Christian Nafzger/Kate Horwitz
                Defendant: John DeFranco, CJA Counsel appointed- temporary appt.
                USPO: Lisa Melchert
               Interpreters today: Elena McGiven and Valeria Kvito-Simon (vouchers signed)

  (X) Court reviewed the record/defendant’s first appearance. (X) Defendant placed under oath.
  (X) Defendant appearing in custody on a Warrant/ Indictment.
  (X) Constitutional Rights to Jury Trial and Counsel advised.
  (X) Docket Note: Court inquired of defendant who advised he is not in need of an Interpreter and
  Interpreters may be removed from the docket.
  (X) Maximum Penalties Provided.
  (X) Arraigned on the Indictment.
  (X) Copy furnished to defendant/understands the charges and maximum penalties.
  (X) Waived Reading of Indictment.
  (X) Court examined Financial Affidavit, made qualification and appointed CJA Counsel. Defendant
  was questioned and qualified regarding the financial affidavit.
  (X) Docket Note: Court advised, upon review, it may set an additional hearing to inquire of
  defendant’s financial affidavit. Court will advise if such hearing is necessary.
  (X ) PLEA: Not Guilty Plea entered as to all counts and denials as to Forfeiture Allegations.
  (X) Court entered Procedural Order with counsel making their elections for 9:30 AM, OCTOBER
  23 , 2018 at Boise, Idaho, before Judge Lodge.
 (X) Govt. requested to keep search and seizure warrants under seal at this time; however will provide
to defense counsel as part of their discovery.

(X) Govt’s Motion for Detention: Govt. requested 3 day continuance.

(X) ORDER: Court entered Order of Temporary Detention: Setting this matter for 2pm, TUES
8/28/18, before Judge Bush.

Defendant remanded to custody of USMS.
Counsel may keep Bail Report; so Ordered. Report to be supplemented for DH.
